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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 SURGRET URANIA DOSS,

       Plaintiff,

 v.                                                 Case No: 8:22-cv-129-CEH-AAS

 GREGORY P. HOLDER, MICHAEL
 R. VICTOR, JOHN WALTER
 MCDARBY, JANE CASTOR, CITY
 OF TAMPA and CHAD
 CHRONISTER,

       Defendants.


              CASE MANAGEMENT AND SCHEDULING ORDER

       Having considered the Case Management Report prepared by the parties

 (Doc. 58), see FED. R. CIV. P. 26(f), the Court enters this Case Management and

 Scheduling Order:

  Mandatory Initial Disclosures                                      NOVEMBER 25,
                                                                             2022
  Certificate of Interested Persons and Corporate Disclosure             Completed
    Statement
  Motions to Add Parties or to Amend Pleadings                        DECEMBER 30,
                                                                             2022
  Disclosure of Expert Reports
                                                    Plaintiff:        JULY 3, 2023
                                                   Defendant:       AUGUST 4, 2023
                                                    Rebuttal:    SEPTEMBER 5, 2023
  Discovery Deadline                                               OCTOBER 2, 2023

  Dispositive Motions, Daubert, and Markman Motions              NOVEMBER 3, 2023
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  Meeting In Person to Prepare Joint Final Pretrial Statement      FEBRUARY 9, 2024

  Joint Final Pretrial Statement , (including a Single Set of     FEBRUARY 20, 2024
     Jointly-Proposed Jury Instructions and Verdict Form [a
     Microsoft Word version may be e-mailed to the
     Chambers mailbox] Voir Dire Questions, Witness Lists,
     Exhibit Lists with Objections on Approved Form)
  All Other Motions Including Motions In Limine                   FEBRUARY 27, 2024

  Final Pretrial Conference
                                                         Date:       MARCH 19, 2024
                                                         Time:                1:45 PM
                                                        Judge:       Charlene Edwards
                                                                            Honeywell
                                                                       Courtroom 13A
  Trial Briefs and Deposition Designations                           MARCH 12, 2024

  Trial Term Begins                                                      APRIL 1, 2024

  Estimated Length of Trial                                                    7-10 days

  Jury/Non-Jury                                                                     Jury

  Mediation
                                                     Deadline:       NOVEMBER 21,
                                                     Mediator:                    2023
                                                      Address:           Robert Stoler
  Designated Lead Counsel shall contact                              201 N Franklin St
  opposing counsel and the mediator to                                      Suite 3100
  reserve a conference date and shall file                          Tampa, FL 336y02
  a Notice with the Court within 14 days
  of this Order advising of the date.
                                                    Telephone:             813-609-3200

  Designated Lead Counsel                       Attorney Name:            Ivy P. Rollins

  Lead Counsel Telephone Number           Telephone Number:                813-223-2880


       The purpose of this Order is to discourage wasteful pretrial activities, and to

 secure the just, speedy, and inexpensive determination of the action. See FED. R. CIV.

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 P. 1. This Order controls the subsequent course of this proceeding. FED. R. CIV. P.

 16(b), (e). Counsel and all parties (both represented and pro se) shall comply with this

 Order, with the Federal Rules of Civil Procedure, with the 2021 Local Rules of the

 United States District Court for the Middle District of Florida, and with the

 Administrative Procedures for Case Management/Electronic Case Filing. A copy of

 the       Local   Rules   and   Administrative     Procedures     may     be   viewed     at

 http://www.flmd.uscourts.gov. Counsel shall also comply with the Ideals and Goals of

 Professionalism adopted by the Board of Governors of the Florida Bar on May 16, 1990

 available at www.floridabar.org (Professional Practice - Henry Latimer Center for

 Professionalism); Local Rule 2.04(a). 1

 I.        DISCOVERY

         A.     Certificate of Interested Persons and Corporate Disclosure Statement
 – This Court has previously ordered each party, governmental party, intervenor, non-
 party movant, and Rule 69 garnishee to file and serve a Certificate of Interested
 Persons and Corporate Disclosure Statement using a mandatory form. No party may
 seek discovery from any source before filing and serving a Certificate of Interested
 Persons and Corporate Disclosure Statement. A motion, memorandum, response, or
 other paper – including emergency motion – may be denied or stricken unless the filing
 party has previously filed and served a Certificate of Interested Persons and Corporate
 Disclosure Statement. Any party who has not already filed and served the required
 certificate shall do so within fourteen (14) days from the date of this Order, or sanctions
 will be imposed.

       B.     Discovery Not Filed - The parties shall not file discovery materials with
 the Clerk. The Court encourages the exchange of discovery requests on diskette or by
 e-mail.

       C.    Limits on Discovery - Absent leave of Court, the parties may take no
 more than ten depositions per side (not per party). FED. R. CIV. P. 30(a)(2)(A); FED.


    See also procedures for the presiding district judge found under Judicial Information at
       1

 www.flmd.uscourts.gov
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 R. CIV. P. 31(a)(2)(A). Absent leave of Court, the parties may serve no more than
 twenty-five interrogatories, including sub-parts. FED. R. CIV. P. 33(a). Absent leave
 of the Court or stipulation by the parties, each deposition is limited to one day of seven
 hours. FED. R. CIV. P. 30(d)(2). The parties may agree by stipulation on other limits
 on discovery within the context of the limits and deadlines established by this Case
 Management and Scheduling Order, but the parties may not alter the terms of this
 Order without leave of Court. See, e.g., FED. R. CIV. P. 29.

        D.    Discovery Deadline - Each party shall timely serve discovery requests so
 that the Rules allow for a response prior to the discovery deadline. The Court may
 deny as untimely all motions to compel filed after the discovery deadline.

       E.     Disclosure of Expert Testimony - On or before the date set forth in the
 above table for the disclosure of expert reports, the party shall fully comply with
 Federal Rule of Civil Procedure 26(a)(2) and 26(e). Expert testimony on direct
 examination at trial will be limited to the opinions, bases, reasons, data, and other
 information disclosed in the written expert report disclosed pursuant to this Order.
 Failure to disclose such information may result in the exclusion of all or part of the
 testimony of the expert witness.

        F.     Confidentiality Agreements - The parties may reach their own
 agreement regarding the designation of materials as “confidential.” There is no need
 for the Court to endorse the confidentiality agreement. The Court discourages
 unnecessary stipulated motions for a protective order. The Court will enforce
 stipulated and signed confidentiality agreements. Each confidentiality agreement or
 order shall provide, or shall be deemed to provide, that “no party shall file a document
 under seal without first having obtained an order granting leave to file under seal on a
 showing of particularized need.” See also “Motions to File Under Seal” below.

 II.    MOTIONS

         A.     Certificate of Good Faith Conference - Before filing any motion in a
 civil case, the moving party shall confer with the opposing party in a good faith effort
 to resolve the issues raised by the motion, and shall file with the motion a statement
 certifying that the moving party has conferred with the opposing party, and that the
 parties have been unable to agree on the resolution of the motion. Local Rule 3.01(g).
 A certification to the effect that opposing counsel was unavailable for a conference
 before filing a motion is insufficient to satisfy the parties’ obligation to confer. See Local
 Rule 3.01(g). No certificate is required in a motion for injunctive relief, for judgment
 on the pleadings, for summary judgment, or to certify a class. See Local Rule 3.01(g).
 Rule 3.01(g) applies to pro se parties acting as their own counsel, thus requiring
 movants to confer with pro se parties and requiring pro se movants to file Rule 3.01(g)
 certificates. The term “confer” in Rule 3.01(g) requires a substantive conversation in

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 person or by telephone in a good faith effort to resolve the motion without court action
 and does not envision an exchange of ultimatums by fax or letter. Counsel who merely
 “attempt” to confer have not “conferred.” Counsel must respond promptly to inquiries
 and communications from opposing counsel. Board of Governors of the Florida Bar,
 Ideals and Goals of Professionalism, ¶ 6.10 and Creed of Professionalism ¶ 8 (adopted
 May 16, 1990), available at www.floridabar.org (Professional Practice - Henry Latimer
 Center for Professionalism). Purposeful evasion under the rule can result in a sanction.
 See Local Rule 3.01(g)(3). The Court will deny motions that fail to include an
 appropriate, complete Rule 3.01(g) certificate.

        B.     Extension of Deadlines

      The parties may not extend deadlines established in this Case Management and
 Scheduling Order without the approval of the Court.

                1.    Dispositive Motions Deadline and Trial Not Extended –
 Motions to extend the dispositive motions deadline or to continue the trial are
 generally denied. The Court will grant an exception only when necessary to prevent
 manifest injustice. A motion for a continuance of the trial is subject to denial if it fails
 to comply with Local Rule 3.08. The Court cannot extend a dispositive motion
 deadline to the eve of trial. In light of the district court’s heavy felony trial calendar, at
 least 5 months are required before trial to receive memoranda in opposition to a
 motion for summary judgment, and to research and resolve the dispositive motion
 sufficiently in advance of trial.

                2.     Extensions of Other Deadlines Disfavored - Motions for an
 extension of other deadlines established in this Order, including motions for an
 extension of the discovery period, are disfavored. The deadline will not be extended
 absent a showing of good cause. FED. R. CIV. P. 16(b). Failure to complete discovery
 within the time established by this Order shall not constitute cause for continuance. A
 motion to extend an established deadline normally will be denied if the motion fails to
 recite that: 1) the additional discovery is necessary for specified reasons; 2) all parties
 agree that the extension will not affect the dispositive motions deadline and trial date;
 3) all parties agree that any discovery conducted after the dispositive motions date
 established in this Order will not be available for summary judgment purposes; and 4)
 no party will use the granting of the extension in support of a motion to extend another
 date or deadline. The movant must show that the failure to complete discovery is not
 the result of lack of diligence in pursuing discovery. The filing of a motion for
 extension of time does not toll the time for compliance with deadlines established by
 Rule or order.

         C.    Motions to File Under Seal - Whether documents filed in a case may
 be filed under seal is a separate issue from whether the parties may agree that produced

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 documents are confidential. Motions to file under seal are disfavored, and such
 motions will be denied unless they comply with Local Rule 1.11.

        D.     Memoranda in Opposition - Each party opposing any written motion,
 shall file, within fourteen (14) days after being served with such motion, a legal
 memorandum with citation of authorities in opposition to the relief requested. Local
 Rule 3.01(b), (c). However, a party may respond to a motion to dismiss, for judgment
 on the pleadings, for summary judgment, to exclude or limit expert testimony, to
 certify a class, for a new trial, or to alter or amend the judgment within twenty-one
 (21) days after service of the motion. Local Rule 3.01(c). Where no memorandum in
 opposition has been filed, the Court routinely grants the motion as unopposed.
 Motions titled as “unopposed” or “agreed” normally come to the Court’s attention
 prior to the deadline for response. If the parties are in agreement, counsel shall identify
 motions as “unopposed” or “agreed.”

        E.     Emergency Motions - The Court may consider and determine
 emergency motions at any time. See Local Rule 3.01(e). Counsel should be aware that
 the designation “emergency” may cause a judge to abandon other pending matters in
 order to immediately address the “emergency.” The Court will sanction any counsel
 or party who designates a motion as “emergency” under circumstances that are not a
 true emergency. Id. It is not an emergency when counsel has delayed discovery until
 the end of the discovery period. Promptly after filing an emergency motion, counsel
 shall place a telephone call to the chambers of the presiding judge to notify the Court
 that an emergency motion has been filed. The unwarranted designation of a motion as
 an emergency can result in a sanction.

        F.     Page Limit - No party shall file a motion and supporting memorandum
 in excess of twenty-five pages or a response in excess of twenty pages except by
 permission of the Court. Local Rule 3.01(a), (b). A motion requesting leave to file
 either a motion in excess of twenty-five pages, a response in excess of twenty pages, or
 a reply or further memorandum may not exceed three pages, shall specify the length
 of the proposed filing, and shall not include, as an attachment or otherwise, the
 proposed motion, response, reply, or other paper. Rule 3.01(d). Motions for relief from
 page limitations are disfavored and will not be granted without a specific showing of
 good cause.

       G.     Motions for Summary Judgment

                 1.     Required Materials - A motion for summary judgment shall
 specify the material facts as to which the moving party contends there is no genuine
 issue for trial, and shall be accompanied by a memorandum of law, affidavits and other
 evidence in the form required by Federal Rule of Civil Procedure 56. The motion for
 summary judgment and supporting memorandum of law shall be presented in a single

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 document of not more than twenty-five (25) pages. Local Rule 3.01(a). Each party
 opposing a motion for summary judgment shall file and serve, within twenty-one (21)
 days after being served with such motion, a legal memorandum with citation of
 authorities in opposition to the relief requested of not more than twenty (20) pages.
 Local Rule 3.01(b). The memorandum in opposition shall specify the material facts as
 to which the opposing party contends there exists a genuine issue for trial, and shall
 be accompanied by affidavit(s) and other evidence in the form required by Federal
 Rule of Civil Procedure 56. Both the movant and the party opposing summary
 judgment shall provide pinpoint citations to the pages and lines of the record
 supporting each material fact. General references to a deposition are inadequate. On
 or before the date on which the memorandum in opposition is due, the parties SHALL
 also file a stipulation of agreed material facts signed by the movant and the parties
 opposing summary judgment. Material facts set forth in the stipulation will be deemed
 admitted for the purposes of the motion. The Court will accept a ten (10) page reply.
 The reply shall be limited to addressing issues raised by the opposing party that have
 not already been addressed in the motion. The reply shall be filed within fourteen (14)
 days after the response is served.

               2.     Under Advisement - The Court takes a motion for summary
 judgment under advisement no earlier than thirty (30) days from the date it is served,
 unless the Court orders a different date. Unless specifically ordered, the Court will not
 hold a hearing on the motion. Failure to oppose any motion for summary judgment
 may result in the entry of a judgment for the movant without further proceedings. See
 Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v. Wainwright, 772
 F.2d 822, 825 (11th Cir. 1985) (per curiam); FED. R. CIV. P. 56 (e). All requirements
 in this Order apply to pro se litigants as well as to parties represented by counsel.

        H.     Daubert and Markman Motions - On or before the date established in the
 above table for the filing of motions for summary judgment, any party seeking a ruling
 pursuant to Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) (admissibility of
 expert opinions) or pursuant to Markman v. Westview Instruments, Inc., 517 U.S. 370
 (1996) (interpretation of a patent claim) shall file an appropriate motion. The parties
 shall prepare a glossary of technical or scientific terms where appropriate for the Court.

        I.    All Other Motions Including Motions In Limine - On or before the date
 established in the above table, the parties shall file and serve all other motions
 including motions in limine. Local Rule 3.01(g) applies, and the parties shall confer to
 define and limit the issues in dispute.

 III.   JOINT FINAL PRETRIAL STATEMENT




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        A.     Meeting In Person - On or before the date established in the above table,
 lead trial counsel for all parties and any unrepresented parties shall meet together in
 person pursuant to Local Rule 3.06(a) in a good faith effort to:

               1.   settle the case; the parties shall thoroughly and exhaustively
 discuss settlement of the action before undertaking the extensive efforts needed to
 conduct final preparation of the case for trial and to comply with the requirements of
 this Order;

               2.     stipulate to as many facts and issues as possible; in order to assist
 the Court, the parties shall make an active and substantial effort to stipulate at length
 and in detail as to agreed facts and law, and to limit, narrow, and simplify the issues
 of fact and law that remain contested; as a rule, parties who have complied with this
 requirement in good faith will file a Joint Final Pretrial Statement listing far more
 agreed facts and principles of law than those that remain for determination at trial;

                3.     tag, mark, identify, examine, copy, and list all original trial
 exhibits (including actual document exhibits) that any party will offer in evidence or
 otherwise tender to any witness during trial [Local Rule 3.06(b)(4) and 3.07]; and
 prepare and exchange a final exhibit list on the Clerk’s approved form (attached to this
 Order) bearing a description identifying each exhibit and sponsoring witness [Local
 Rule 3.07]; it is anticipated that counsel will agree to the admission of the bulk of the
 opposing parties’ exhibits without objection and shall designate on the exhibit list the
 exhibits which the Court may admit without objection at trial. Absent good cause, the
 Court will not receive in evidence over objection any exhibits – including charts,
 diagrams, and demonstrative evidence – not presented to opposing counsel or
 unrepresented parties for inspection and copying at the required meeting or not listed
 in the joint final pretrial statement. Photographs of sensitive exhibits (i.e., guns, drugs,
 valuables) and of non-documentary evidence, and reductions of documentary exhibits
 larger than 8 ½” by 14” to be substituted for original exhibits after conclusion of the
 trial must be presented to opposing counsel for examination at the meeting to prepare
 the Joint Final Pretrial Statement. Objections to such photographs or reductions of
 exhibits must be listed in the Joint Final Pretrial Statement. The parties are advised
 that the design of certain courtrooms may preclude the use of large exhibits and posters
 in a jury trial. The parties are directed to contact the trial judge’s courtroom deputy
 clerk to discuss exhibits and equipment to be used during trial; and

             4.       exchange the names and addresses of all witnesses and state
 whether they will likely be called.

              5.     In the event of pandemics, such as the coronavirus, where in-
 person appearances cannot be accomplished due to the need to socially distance,
 attorneys and parties may conduct the pretrial statement meeting pursuant to Local
 Rule 3.06(b) via videoconference.
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        B.     The Joint Final Pretrial Statement

               1.     Form of Joint Final Pretrial Statement - On or before the date
 established in the above table, the parties shall file a Joint Final Pretrial Statement that
 strictly conforms to the requirements of Local Rule 3.06(b) and this Order. This case
 must be fully ready for trial at the time that the Joint Final Pretrial Statement is
 due. Lead trial counsel for all parties, or the parties themselves if unrepresented, shall
 sign the Joint Final Pretrial Statement. The Court will strike pretrial statements that
 are unilateral, incompletely executed, or otherwise incomplete. Inadequate
 stipulations of fact and law will be stricken. Sanctions may be imposed for failure to
 comply, including the striking of pleadings. At the conclusion of the final pretrial
 conference, all pleadings are deemed to merge into the Joint Final Pretrial Statement,
 which will control the course of the trial.

               2.      Exhibit List - The exhibit list filed in compliance with Local Rules
 3.06(b)(4) and 3.07 must be on the Clerk’s approved form (attached to this Order).
 Unlisted exhibits will not be received into evidence at trial, except by order of the Court
 in the furtherance of justice. The Joint Final Pretrial Statement must attach each
 party’s exhibit list on the approved form, listing each specific objection (“all objections
 reserved” does not suffice) to each numbered exhibit that remains after full discussion
 and stipulation. Objections not made – or not made with specificity – are waived.

                3.     Witness List - On the witness list required by Local Rule
 3.06(b)(5), the parties and counsel shall designate the likelihood the witness will testify
 and each objection to the witness’s testifying. Absent good cause, the Court will not
 permit, over objection, testimony from unlisted witnesses at trial. This restriction does
 not apply to true rebuttal witnesses (i.e., witnesses whose testimony could not
 reasonably have been foreseen to be necessary). Records custodians may be listed but
 will not likely be called at trial, except in the rare event that authenticity or foundation
 is contested. For good cause shown in compelling circumstances, the Court may
 permit presentation of testimony in open court by contemporaneous transmission from
 a different location. FED. R. CIV. P. 43(a).

               4.     Depositions - The Court encourages stipulations of fact to avoid
 calling unnecessary witnesses. Where a stipulation will not suffice, the Court permits
 the use of depositions. At the required meeting, counsel and unrepresented parties
 shall agree upon and specify in writing in the Joint Final Pretrial Statement the pages
 and lines of each deposition (except where used solely for impeachment) to be
 published to the trier of fact. The parties shall include in the Joint Final Pretrial
 Statement a page-and-line description of any testimony that remains in dispute after
 an active and substantial effort at resolution, together with argument and authority for
 each party’s position. The parties shall prepare for submission and consideration at
 the final pretrial conference or trial an edited and marked copy (as to the portion

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 offered by each party) of any deposition or deposition excerpt which is to be offered in
 evidence.

                5.      Joint Jury Instructions, Verdict Form, Voir Dire Questions - In
 cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial
 Statement a single jointly proposed set of jury instructions in order of presentation
 to the jury, together with a single jointly-proposed jury verdict form. The parties should
 be considerate of their jury, and therefore should submit short, concise special verdict
 forms. The Court prefers pattern jury instructions approved by the United States Court
 of Appeals for the Eleventh Circuit. A party may include at the appropriate place in
 the single set of jointly-proposed jury instructions a contested charge, so designated
 with the name of the requesting party and bearing at the bottom a citation of authority
 for its inclusion, together with a summary of the opposing party’s objection. The Court
 will deny outright a proposed instruction that is “slanted” in any way. Any
 modifications to Eleventh Circuit standard jury instructions are disfavored and
 shall be clearly marked and identified on the proposed jury instructions. The Court
 requires that the parties e-mail a single set of jury instructions and verdict form,
 preferably in Word format to the Chambers mailbox. The parties may include in the
 Joint Final Pretrial Statement a single list of jointly-proposed questions for the Court
 to ask the venire during voir dire.

         C.     Coordination of Joint Final Pretrial Statement - All parties are
 responsible for filing a Joint Final Pretrial Statement in full compliance with this
 Order. Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have the
 primary responsibility to coordinate compliance with the sections of this Order that
 require a meeting of lead trial counsel and unrepresented parties in person and the
 filing of a Joint Final Pretrial Statement and related material. See Local Rule 3.10
 (relating to failure to prosecute). If the plaintiff is proceeding pro se, defense counsel
 shall coordinate compliance. If counsel is unable to coordinate such compliance,
 counsel shall timely notify the Court by written motion or request for a status
 conference.

        D.     Trial Briefs and Other Materials

               1.     Trial Briefs - In the case of a non-jury trial, on or before the date
 established above, each party shall file and serve a trial brief with proposed findings of
 fact and conclusions of law. The parties may file a trial brief on or before the same date
 in the case of a jury trial.

                2.    Exhibit Notebook - On the first day of a jury trial the parties may
 provide to the Court a bench notebook containing marked copies of all exhibits. On
 the first day of a non-jury trial, the parties shall provide to the Court a bench notebook


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 containing marked copies of all exhibits. The parties may contact the courtroom
 deputy clerk for the trial judge to determine whether this requirement may be waived.



 IV.   MEDIATION

        A.     Purpose - To minimize costly pretrial procedures in a case that may be
 equitably settled, and to secure the just, speedy, and inexpensive determination of this
 action, all parties shall participate in good faith in mediation. See FED. R. CIV. P. 1;
 FED. R. CIV. P. 16(a)(5). Parties who prefer mediation but have been designated for
 arbitration may file and serve a joint motion seeking relief from arbitration.

       B.      The Mediator - This Court prefers to appoint the certified and approved
 mediator, if any, chosen by the parties in their Case Management Report. If no such
 mediator has been chosen, the Court will give the parties fourteen (14) days to select a
 mediator. The mediator shall conduct the mediation conference in the conference
 room of the mediator’s law firm or office at a time and date selected by the mediator
 within the confines of this Order.

        C.     Last Date to Mediate - The parties shall complete the mediation
 conference on or before the mediation date set forth earlier in the above table. Neither
 the mediator nor the parties have authority to continue the mediation conference
 beyond this date except on express order of the Court. In any complex case or case
 involving multiple parties, the mediator has the authority to conduct the mediation in
 a series of sessions and in groups of parties so that mediation is complete by the last
 date to mediate.

       D.     Mediator’s Authority - The mediator shall have all powers and authority
 to conduct a mediation and to settle this case as are described in Chapter Four of the
 Local Rules, except as limited by this Order. The mediation shall continue until
 adjourned by the mediator. In order to coordinate the mediation conference, the
 mediator may set an abbreviated scheduling conference prior to the scheduled
 mediation. At such time, the mediator may designate one or more coordinating
 attorneys who shall be responsible for conferring with the mediator regarding the
 mediation conference. If necessary, the coordinating attorney may coordinate the
 rescheduling of a mediation conference within the time allowed in this Order.

       E.     General Rules Governing Mediation Conference

               1.    Case Summaries - Not less than two days prior to the mediation
 conference, each party shall deliver to the mediator a written summary of the facts and
 issues of the case.


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               2.      Identification of Corporate Representative - As part of the
 written case summary, counsel for each corporate party shall state the name and
 general job description of the employee or agent who will attend and participate with
 full authority to settle on behalf of the corporate party.

                3.     Attendance Requirements and Sanctions - Each attorney acting
 as lead trial counsel, and each party (and in the case of a corporate party, a corporate
 representative) with full authority to settle, shall attend and participate in the
 mediation conference in person. In the case of an insurance company, the term “full
 authority to settle” means authority to settle for the full value of the claim or policy
 limit. In the event of pandemics, such as the coronavirus, where in-person appearances
 cannot be accomplished due to the need to socially distance, attorneys and parties may
 attend the mediation conference via videoconference or telephone. The Court will
 impose sanctions upon lead counsel and parties who do not attend and participate in
 good faith in the mediation conference.

              4.     Authority to Declare Impasse - Participants shall be prepared to
 spend as much time as may be necessary to settle the case. No participant may force
 the early conclusion of a mediation because of travel plans or other engagements. Only
 the mediator may declare an impasse or end the mediation.

               5.     Restrictions on Offers to Compromise - Evidence of an offer to
 compromise a claim is not admissible to prove liability for or invalidity of the claim or
 its amount. FED. R. EVID. 408 (includes evidence of conduct or statements made in
 compromise negotiations). All discussion, representations and statements made at the
 mediation conference are privileged settlement negotiations. Except in a supplemental
 proceeding to enforce a settlement agreement, nothing related to the mediation
 conference shall be admitted at trial or be subject to discovery. FED. R. EVID. 408. A
 communication between a party and a mediator during a private caucus is also
 confidential, unless the party tells the mediator that it is not.

        F.    Compensation of Mediators - Absent agreement of the parties and the
 mediator, mediators shall be compensated at a reasonable hourly rate agreed to by the
 parties or provided by order of the Court, after consideration of the amount in
 controversy, the nature of the dispute, the resources of the parties, the prevailing
 market rate for mediators in the applicable market, the skill and experience of the
 mediator, and other pertinent factors. Unless altered by order of the Court, the cost of
 the mediator's services shall be borne equally by the parties to the mediation
 conference.

       G.      Settlement and Report of Mediator - A settlement agreement reached
 between the parties shall be reduced to writing and signed by the parties and their
 attorneys in the presence of the mediator. Within seven days of the conclusion of the

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 mediation conference, the mediator shall file and serve a written mediation report
 stating whether all required parties were present, whether the case settled, and whether
 the mediator was forced to declare an impasse. The mediator may report any conduct
 of a party or counsel that falls short of a good faith effort to resolve the case by
 agreement or fails to comply with this Order.

 V.     FINAL PRETRIAL CONFERENCE

        A.    Lead Trial Counsel and Parties - If this Order does not set a final pretrial
 conference date, the Court may later set a final pretrial conference on notice. Lead
 trial counsel and local counsel for each party, together with any unrepresented
 party, must attend the final pretrial conference in person unless previously excused
 by the Court. See FED. R. CIV. P. 16(d).

        B.     Substance of Final Pretrial Conference - Since this case must be fully
 ready for trial at the time that the Joint Final Pretrial Statement is due, at the final
 pretrial conference, all counsel and parties must be prepared and authorized to
 accomplish the purposes set forth in FED. R. CIV. P. 16, including formulating and
 simplifying the issues; eliminating frivolous claims and defenses; admitting facts and
 documents to avoid unnecessary proof; stipulating to the authenticity of documents;
 obtaining advance rulings from the Court on the admissibility of evidence; settling the
 dispute; disposing of pending motions; establishing a reasonable limit on the time
 allowed for presenting evidence; and such other matters as may facilitate the just,
 speedy, and inexpensive disposition of the action. See FED. R. CIV. P. 16(c)–(d).

 VI. SANCTIONS - The Court will impose sanctions on any party or attorney: 1)
 who fails to attend and to participate actively in the meeting to prepare the Joint
 Pretrial Statement, or who refuses to sign and file the agreed document; 2) who fails
 to attend the Final Pretrial Conference, or who is substantially unprepared to
 participate; 3) who fails to attend the mediation and actively participate in good faith,
 or who attends the mediation without full authority to negotiate a settlement, or who
 is substantially unprepared to participate in the mediation; or 4) who otherwise fails to
 comply with this Order. Sanctions may include but are not limited to an award of
 reasonable attorney’s fees and costs, the striking of pleadings, the entry of default, the
 dismissal of the case, and a finding of contempt of court. See FED. R. CIV. P. 16(f) and
 37; 28 U.S.C. § 1927.

 VII.   TRIAL

        A.     Trial Before District Judge - A case scheduled for trial before a United
 States District Judge normally will be called for trial on the first day of the trial term
 indicated in the above table, or as soon after that date as is possible in light of the



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 Court’s felony and civil trial calendar. 2 Cases not reached for trial in the month
 scheduled will be carried over to the following month on a trailing trial calendar, and
 issued subpoenas will continue in force. Counsel, parties, and witnesses shall be
 available on twenty-four hours notice for trial after the beginning of the trial term.
 A different District Judge or visiting judge may try the case. The case may be set for
 trial in the Orlando Division, Tampa Division, Fort Myers Division, Ocala Division,
 or Jacksonville Division of the Court. Local Rule 1.02(e). Absent a showing of good
 cause, any party whose turn it is to provide evidence will be deemed to have rested if,
 during the hours designated for trial, the party has no further evidence or witnesses
 available.

        B.      Trial Before a Magistrate Judge - A case scheduled for trial before a
 United States Magistrate Judge will be called for trial on a date certain. With respect
 to a civil case that remains pending before a District Judge as of the date of this Order,
 the United States District Judges of the Middle District of Florida wish to afford the
 parties the opportunity to consent to proceed before a Magistrate Judge. Consent must
 be unanimous. A United States Magistrate Judge is available pursuant to 28 U.S.C. §
 636(c) and Federal Rule of Civil Procedure 73(a) to conduct all further proceedings in
 this case (or specified motions in this case), to conduct a jury or non-jury trial
 beginning on a date certain, and to enter final judgment. A party may appeal a final
 judgment of a Magistrate Judge to the United States Court of Appeals for the Eleventh
 Circuit in the same manner as an appeal from the district court. 28 U.S.C. § 636(c)(3);
 FED. R. CIV. P. 73. A party is free to withhold consent without adverse substantive
 consequences. 28 U.S.C. § 636 (c)(2); FED. R. CIV. P. 73(b). Consent forms are
 attached to this scheduling order. FED. R. CIV. P. 73(b).

         C.     Settlement - Counsel shall immediately notify the Court upon settlement
 of any case. Local Rule 3.09(a). The parties shall notify the Court of any settlement
 or other disposition of the case which will eliminate the need for a jury by 11:30 a.m.
 on the last business day before the date scheduled for jury selection. Failure to do so
 will subject each party to joint and several liability for jury costs. Regardless of the
 status of settlement negotiations, the parties shall appear for all scheduled hearings,
 including the Final Pretrial Conference and for trial absent the filing of a stipulation of
 dismissal signed by all parties who have appeared in the action (or notice of dismissal
 if prior to answer and motion for summary judgment). FED. R. CIV. P. 41(a).




 2
   This case may be reassigned to a visiting District Judge at any time. In unusual and
 extraordinary circumstances, the Court may re-notice this case for trial shortly before the first
 day of the trial term if necessary to accommodate the trial schedule of the District Judge.
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         DONE AND ORDERED in Tampa, Florida, this 2nd day of November

 2022.




 Attachments:            Exhibit List Form [mandatory form]
                         Magistrate Judge Consent / Entire Case
                         Magistrate Judge Consent / Specified Motions

 Copies to:              United States Magistrate Judge
                         All Counsel of Record
                         All Pro Se Parties
                         Law Clerk (




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                                             EXHIBIT LIST

                              Government          Plaintiff             Defendant            Court



                     Case No.
                     Style:


 Exhibit      Date               Date            Sponsoring        Objections /           Description
 No.          Identified         Admitted        Witnesses         Stipulated             of Exhibit
                                                                   Admissions 1




       1
        Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by
agreement without objections. Otherwise, specifically state each objection to each opposed exhibit.
Please note that each date box on the left must be one inch wide to accommodate the Clerk’s stamp.
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                                         UNITED STATES DISTRICT COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION

SURGRET URANIA DOSS,

         Plaintiff,

v.                                                                           Case No: 8:22-cv-129-CEH-AAS

GREGORY P. HOLDER, MICHAEL R. VICTOR,
JOHN WALTER MCDARBY, JANE CASTOR,
CITY OF TAMPA and CHAD CHRONISTER,

         Defendants.


        NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

           Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct all proceedings in
this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed directly
to the United States court of appeals like any other judgment of this court. A magistrate judge may exercise this authority only if all
parties voluntarily consent.

         You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be involved
with your case,

        Consent to a magistrate judge's authority. The following parties consent to have a United States magistrate judge conduct all
proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

Printed names of parties and attorneys             Signatures of parties or attorneys                     Dates




                                                           REFERENCE ORDER
         IT IS ORDERED that this case be referred to a UNITED STATES MAGISTRATE JUDGE for all further proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73.



               DATE                                                             CHARLENE EDWARDS HONEYWELL
                                                                          UNITED STATES DISTRICT JUDGE

NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION BY A UNITED
         STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION

SURGRET URANIA DOSS,

        Plaintiff,

v.                                                                 Case No: 8:22-cv-129-CEH-AAS

GREGORY P. HOLDER, MICHAEL R. VICTOR,
JOHN WALTER MCDARBY, JANE CASTOR,
CITY OF TAMPA and CHAD CHRONISTER,

        Defendants.


 NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority
only if all parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

          Consent to a magistrate judge's consideration of a dispositive motion. The following parties consent to have a United
States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).

        MOTION(S)                _____________________________________________

                                 _____________________________________________

Printed names of parties and attorneys                     Signature of parties or attorneys               Date




                                                   REFERENCE ORDER

       IT IS ORDERED: The motions are referred to the United States magistrate judge to conduct all proceedings
and enter a final order on the motions identified above in accordance with 28 U.S.C. ' 636(c).


___________________                                                     __________________________________________
          Date                                                           CHARLENE EDWARDS HONEYWELL
                                                                          UNITED STATES DISTRICT JUDGE
NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF
         JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
